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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

FUNDAMENTAL INNOVATION                              §
SYSTEMS INTERNATIONAL, LLC,                         §
                                                    §
                     Plaintiff                      §
                                                    §
v.                                                  §        Civil Action No. 3:17-cv-1827-N
                                                    §
ZTE CORPORATION et al.                              §
                                                    §
                     Defendants.                    §
                                                    §

                  DECLARATION OF JAMES RAY WOOD IN SUPPORT OF
               DEFENDANT’S MOTION TO DISMISS FOR IMPROPER SERVICE

          I, James Ray Wood, state and declare as follows:

          1.     I am of legal age and competent to testify as to the matters set forth herein. The

statements set forth in this declaration are true and correct to the best of my knowledge and

belief.

          2.     I am the Chief Patent Counsel of defendant ZTE (USA), Inc. (hereinafter “ZTE

USA”). I am an employee of ZTE USA.

          3.     ZTE USA is a U.S.-based corporation incorporated in New Jersey. ZTE USA’s

domestic headquarters are in Richardson, Texas where it employs more than 140 people. ZTE

USA has an independent Human Resources department.

          4.     ZTE USA is a wholly owned subsidiary of ZTE Corporation, a Shenzhen, China

based telecommunication company.

          5.     ZTE USA is not authorized to accept service on behalf of ZTE Corporation.

          6.     ZTE USA and ZTE Corporation maintain separate corporate Boards, each with its

own set of corporate officers. The companies also operate under separate by-laws.


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        7.     ZTE USA and ZTE Corporation maintain separate accounting systems and

separately report revenues and costs.

        8.     ZTE USA and ZTE Corporation engage in related business activities. ZTE USA

makes its own operational decisions with advice from ZTE Corporation as appropriate given

ZTE Corporation’s role as the primary developer and manufacturer of the products ZTE USA

imports, markets, and sells in the United States, the history of the corporate relationship, and

each company’s respective business activities and objectives.

        9.     I declare under penalty of perjury under the laws of the United States of America,

that the foregoing facts are true and correct based on my own personal knowledge. Executed on

August 18, 2017.



                                                      __________________________________
                                                      JAMES RAY WOOD




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